         Case 1:13-cv-00734-RBW Document 214-1 Filed 01/17/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

TRUE THE VOTE, INC.,

                                    Plaintiff,

v.                                               Civ. No. 13-cv-00734-RBW

INTERNAL REVENUE SERVICE, et al.,

                                 Defendants.

                                    [PROPOSED] ORDER

         Upon consideration of Movant’s Motion for Leave to Intervene and to Unseal Court

Records, any Opposition, and any Reply thereto, it is hereby

         ORDERED that Movant is GRANTED permission to intervene; it is further

         ORDERED that Movant is GRANTED access to court records sealed by prior orders from

this Court related to Docket numbers 189, 190, 194, 196, 198, 199, 200, and 201 in the above-

captioned matter.

         SO ORDERED.



                                            ______________________________________
                                            THE HONORABLE REGGIE B. WALTON
                                            UNITED STATES DISTRICT JUDGE


Dated:
       Case 1:13-cv-00734-RBW Document 214-1 Filed 01/17/23 Page 2 of 2




                                  LCvR 7(k) List of Attorneys

       Pursuant to LCvR 7(k), the below attorneys are entitled to be notified of the proposed

order’s entry:

 Kaylan L. Phillips                                      Grover Hartt , III
 PUBLIC INTEREST LEGAL FOUNDATION                        U.S. DEPARTMENT OF JUSTICE
 32 East Washington                                      Tax Division
 Suite 1675                                              717 North Harwood Street
 Indianapolis, IN 46204                                  Suite 400
 Email: kphillips@publicinterestlegal.org                Dallas, TX 75201
                                                         Email: grover.hartt@usdoj.gov
 Brock Cordt Akers                                       Joseph A. Sergi
 AKERS FIRM                                              U.S. DEPARTMENT OF JUSTICE
 3401 Allen Parkway                                      Tax Division
 Suite 101                                               555 4th Street, NW
 Houston, TX 77019                                       Suite 7207
 Email: bca@akersfirm.com                                Washington, DC 20001
                                                         Email: joseph.a.sergi@usdoj.gov
 James Bopp , Jr.                                        Brigida Benitez
 Jeffrey P. Gallant                                      Catherine D. Cockerham
 Courtney Turner Milbank                                 Erica Lynne Gerson
 Melena S. Siebert                                       STEPTOE & JOHNSON, LLP
 THE BOPP LAW FIRM, PC                                   1330 Connecticut Avenue, NW
 1 South 6th Street                                      Washington, DC 20036
 Terre Haute, IN 47807                                   Email: bbenitez@steptoe.com
 Email: jboppjr@aol.com                                  Email: ccockerham@steptoe.com
 Email: cmilbank@bopplaw.com                             Email: egerson@steptoe.com
 Email: msiebert@bopplaw.com
 Eric Richard Nitz
 Jeffrey A. Lamken
 MOLOLAMKEN, LLP
 600 New Hampshire Ave., NW
 Suite 660
 Washington, DC 20037
 Email: enitz@mololamken.com
 Email: jlamken@mololamken.com
